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March 18, 2021

Via ECF

Hon. Jesse M. Furman
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

Re:          In re Citibank August 11, 2020 Wire Transfers, No. 1:20-cv-06539 (JMF) (S.D.N.Y.)

Dear Judge Furman:

       Today, the Second Circuit granted Citibank’s motion to expedite the appeal in this case
and indicated that oral argument “will be scheduled as early as August of 2021, subject to the
approval of the presiding Judge.” A copy of the order is attached.

Respectfully submitted,

/s/ Neal Kumar Katyal

Neal Kumar Katyal

cc:          All Counsel of Record (via ECF)




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